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                                       No. 23-1059

                  In the United States Court of Appeals
                             FOR THE FOURTH CIRCUIT

                     SOUTH CAROLINA STATE PORTS AUTHORITY
                                                         Petitioner
             THE STATE OF SOUTH CAROLINA; UNITED STATES MARITIME
                                 ALLIANCE, LTD.
                                                         Intervenors
                                            v.
                       NATIONAL LABOR RELATIONS BOARD
                                                         Respondent
           INTERNATIONAL LONGSHOREMEN’S ASSOCIATION, LOCAL 1422;
                  INTERNATIONAL LONGSHOREMEN’S ASSOCIATION
                                                         Intervenors
                              ------------------------------
              NATIONAL RIGHT TO WORK LEGAL DEFENSE FOUNDATION;
           CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA;
               SOUTH CAROLINA CHAMBER OF COMMERCE; NATIONAL
                ASSOCIATION OF MANUFACTURERS; SOUTH CAROLINA
            MANUFACTURERS ALLIANCE; GOVERNOR HENRY MCMASTER
                                                         Amici Supporting Petitioner

            On Petition for Review of an Order of the National Labor Relations Board

                            BRIEF OF INTERVENOR
                   UNITED STATES MARITIME ALLIANCE, LTD.

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                        CORPORATE DISCLOSURE STATEMENT

              In accordance with FED. R. APP. P. 26.1 and 4TH CIR. R. 26.1, United States

        Maritime Alliance, Ltd. makes the following disclosure:


              1)    Is party/amicus a publicly held corporation or other publicly held
                    entity?

              No.



              2)    Does party/amicus have any parent corporations? If yes, identify all
                    parent corporations, including all generations of parent corporations:

              No.



              3)    Is 10% or more of the stock of a party/amicus owned by a publicly held
                    corporation or other publicly held entity? If yes, identify all such
                    owners:

              No.



              4)    Is there any other publicly held corporation or other publicly held entity
                    that has a direct financial interest in the outcome of the litigation? If
                    yes, identify entity and nature of interest:

              COSCO Shipping Lines (North America) Inc. is a wholly-owned subsidiary
              of COSCO SHIPPING Lines Co., Ltd., which is a wholly-owned subsidiary
              of COSCO SHIPPING Holdings Co., Ltd., which is dually listed on the Hong
              Kong Stock Exchange and the Shanghai Stock Exchange.

              Evergreen SHIPPING Agency (America) Corp. is the North American
              general agent for Evergreen Marine Corp. (Taiwan) Ltd., which is a publicly
              traded company on the Taiwan Stock Exchange.



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              Hyundai Merchant Marine (America), Inc. is a subsidiary of HMM Co., Ltd.,
              which is publicly traded on the Korea Exchange.

              Maersk Line is a subsidiary of AP Moller - Maersk A/S, which is publicly
              traded on NASDAQ Copenhagen.

              Ocean Network Express (North America) Inc. is a subsidiary of Ocean
              Network Express Pte. Ltd., which is comprised of Kawasaki Kisen Kaisha,
              Ltd. (“K” Line), Mitsui O.S.K. Line (MOL Line), and Nippon Yusen Line
              (NYK Line), which are publicly traded on the Tokyo Stock Exchange.

              OOCL USA Inc. is a subsidiary of Orient Overseas Container Line Limited,
              which is wholly owned by Orient Overseas (International) Limited (OOIL),
              which is listed on the Hong Kong exchange. The majority shareholder of
              OOIL is COSCO SHIPPING Holdings Co. Ltd., which is traded on the Hong
              Kong and Shanghai exchanges.

              Wallenius Wilhelmsen Logistics Americas, LLC is a subsidiary of Wallenius
              Wilhelmsen ASA, which is publicly traded on the Oslo, Norway stock
              exchange.

              Yang Ming (America) Corp. is a subsidiary of Yang Ming Marine Transport
              Corp., which is publicly traded on the Taiwan stock exchange.

              Zim American Integrated Shipping Services Company, Inc. is a subsidiary of
              Zim Integrated Shipping Services Ltd., which is publicly traded on the New
              York Stock Exchange.

              5)    Is party a trade association? (amici curiae do not complete this
                    question)? If yes, identify any publicly held member whose stock or
                    equity value could be affected substantially by the outcome of the
                    proceeding or whose claims the trade association is pursuing in a
                    representative capacity, or state that there is no such member:

              No.

              6)    Does this case arise out of a bankruptcy proceeding? If yes, the debtor,
                    the trustee, or the appellant (if neither the debtor nor the trustee is a
                    party) must list (1) the members of any creditors’ committee, (2) each
                    debtor (if not in the caption), and (3) if a debtor is a corporation, the




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                    parent corporation and any publicly held corporation that owns 10% or
                    more of the stock of the debtor.

              No.

              7)    Is this a criminal case in which there was an organizational victim? If
                    yes, the United States, absent good cause shown, must list (1) each
                    organizational victim of the criminal activity and (2) if an
                    organizational victim is a corporation, the parent corporation and any
                    publicly held corporation that owns 10% or more of the stock of victim,
                    to the extent that information can be obtained through due diligence.

              No.



        Dated: May 19, 2023                      s/ Jonathan C. Fritts
                                                 Jonathan C. Fritts

                                                 Counsel for United States Maritime
                                                 Alliance, Ltd.




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                               JURISDICTIONAL STATEMENT

              The National Labor Relations Board (“NLRB” or “Board”) had jurisdiction

        over the proceeding below under National Labor Relations Act (“NLRA” or “Act”)

        Section 10(a). 29 U.S.C. §§ 151, 160(a). This Court has jurisdiction to review the

        Board’s order under 29 U.S.C. § 160(f). The petition for review was timely, and all

        parties to the proceeding below have intervened in this case.

                                    STATEMENT OF ISSUES

              1.     Was the Board’s dismissal of the allegation that Article VII, Section

        7(b) of the Master Contract violates Section 8(e) of the NLRA rational, consistent

        with the Act, and supported by substantial evidence considering the record as a

        whole?

              Proposed answer: Yes

              2.     Was the Board’s finding that United States Maritime Alliance, Ltd.

        (“USMX”) carrier-members “have the authority to bypass the Port of Charleston

        entirely and call on other ports where ILA-represented employees perform all

        loading and unloading work” rational, consistent with the Act, and supported by

        substantial evidence considering the record as a whole?

              Proposed answer: No




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                                  STATEMENT OF THE CASE

              USMX is a multiemployer collective-bargaining representative for its

        members, which consist of shipping companies or lines (also known as “carriers”),

        marine-terminal operators and stevedoring companies, and port associations that

        represent employers of longshore labor engaged in container and roll-on/roll-off

        operations in ports on the East and Gulf Coasts of the United States, including marine

        terminals in the Port of Charleston, South Carolina.

              USMX, on behalf of its members, negotiates and administers with the

        International Longshoremen’s Association (“ILA”), on behalf of its constituent

        locals, a collective bargaining agreement known as the Master Contract. The Master

        Contract establishes the key terms and conditions of employment for longshore

        workers that apply uniformly in all Master Contract ports on the Atlantic and Gulf

        Coasts of the United States, including the Port of Charleston.

              In the proceedings before the Board, USMX, along with the ILA and ILA

        Local 1422, was a Respondent to unfair-labor-practice charges filed by the State of

        South Carolina and the South Carolina State Ports Authority (“SCSPA”). The

        SCSPA alleged that Article VII, Section 7(b) of the Master Contract constituted a

        “hot cargo” provision in violation of Section 8(e) of the NLRA.

              USMX, along with the SCSPA, was also a Charging Party in the underlying

        matter arguing that a lawsuit filed in a New Jersey state court by the ILA against



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        USMX and two USMX carrier-members violated Sections 8(b)(4)(ii)(A) and (B)

        and 8(e) of the NLRA.

              After a hearing on June 9-10, 2021, an Administrative Law Judge (“ALJ”)

        dismissed the allegation that Article VII, Section 7(b) of the Master Contract violates

        Section 8(e) of the NLRA, JA1350, but found that the ILA’s lawsuit had an unlawful

        objective under Section 8(b)(4)(ii)(A) and (B) and Section 8(e). The ALJ found that

        the objective of the ILA’s lawsuit was work acquisition, not work preservation.

        JA1354-55.

              The ALJ concluded that the ILA filed the lawsuit with an unlawful objective

        of forcing USMX and its carrier-members to agree that the facially lawful provisions

        of the Master Contract prohibited them from calling at the Leatherman Terminal in

        the Port of Charleston unless ILA bargaining-unit employees performed all of the

        container-handling work, including the operation of the State-owned lift equipment

        at the Leatherman Terminal. Id. The ALJ also concluded that the ILA’s lawsuit had

        an unlawful objective of forcing or requiring USMX and its carrier-members to

        cease doing business with the SCSPA at the Leatherman Terminal. JA1355.

              A three-Member panel of the NLRB affirmed the ALJ’s dismissal of the

        allegation that Article VII, Section 7(b) of the Master Contract violates Section 8(e)

        of the NLRA, but a two-Member majority of that panel reversed the ALJ’s findings

        with respect to the ILA’s lawsuit. The Board majority found that the ILA’s lawsuit



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        sought to “stop the expansion of the hybrid work model” at the Leatherman

        Terminal, which was found to have a lawful work-preservation objective. JA1332.

        The Board majority also found that USMX’s carrier-members had “sufficient

        control” over the work in dispute, which the majority defined broadly to be “the

        loading or unloading of containers they own or lease.” Id.

              The Board majority acknowledged that SCSPA “has sole authority to decide

        which terminals at the Port of Charleston USMX carriers call on, as well as who

        performs loading and unloading work at those terminals using state-owned lift

        equipment.” Id. But, the Board majority found that “USMX carriers have the

        authority to bypass the Port of Charleston and call on other ports where ILA-

        represented employees perform all loading and unloading work.” Id. In that sense,

        the Board majority found that “USMX carriers have the right to control who

        performs loading and unloading work of their containers.” Id.

              Board Member John Ring dissented in part. Member Ring agreed that the

        ALJ properly dismissed the allegation that Article VII, Section 7(b) of the Master

        Contract violates Section 8(e) of the NLRA. JA1334 n.4. But Member Ring

        disagreed with the Board majority’s reversal of the ALJ’s finding that the ILA’s

        lawsuit was unlawful. Member Ring found that the ILA’s dispute is with the SCSPA

        “because the SCSPA controls the work in question, i.e., the lift-equipment work at

        the Leatherman Terminal.” JA1339. Member Ring found that the ILA’s lawsuit



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        had an unlawful secondary-boycott objective because “the SCSPA, not USMX or its

        carrier-members, has the power to give employees the work in question.” JA1340.

              Member Ring explained that the ILA could not obtain the lift-equipment work

        at the Leatherman Terminal directly from the SCSPA – the entity that “indisputably

        controls that work at the Leatherman Terminal” – because the ILA has no collective-

        bargaining relationship with the SCSPA. JA1341. So, as Member Ring found, the

        ILA “seeks to do so by secondary means, by filing and maintaining a lawsuit –

        claiming shock-and-awe damages – in order to scare USMX’s carrier-members

        away from that terminal until the SCSPA takes the lift-equipment work away from

        the state employees and gives it to the ILA.” Id.

                                  SUMMARY OF ARGUMENT

              The Court should affirm the Board’s dismissal of the allegation that Article

        VII, Section 7(b) of the Master Contract violates Section 8(e) of the NLRA. The

        Board’s dismissal of that allegation was unanimous – all three Board Members

        agreed with the ALJ’s dismissal of that allegation. Article VII, Section 7 is a facially

        lawful provision – a point that the SCSPA does not now dispute. Therefore, it is

        unnecessary for the Court to consider extrinsic evidence concerning the parties’

        interpretation of that provision. According to well-established precedent under

        Section 8(e), a facially lawful contract provision must be construed to do no more

        than what is allowed by law.



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              But even if the Court considers the extrinsic evidence, it supports the dismissal

        of the Section 8(e) allegation. The bargaining history concerning Article VII,

        Section 7 demonstrates that it was intended to be nothing more than a notice

        provision concerning a potential disagreement between USMX and the ILA about

        how this provision should be applied. That disagreement, in and of itself, disproves

        the SCSPA’s allegation that USMX and ILA had an unstated, implicit agreement to

        apply Article VII, Section 7(b) in an unlawful manner.

              The Court should not, however, uphold the Board majority’s unsupported

        finding that USMX’s carrier-members have the right of control. While USMX

        stands behind the work-preservation provisions of the Master Contract, USMX

        cannot promise the ILA work that is controlled by other entities – here, the SCSPA.

        It is undisputed that the SCSPA controls the assignment of the lift-equipment work

        at the Leatherman Terminal because that equipment is owned by the SCSPA and

        operated by State employees. The Board majority dodged that undisputed fact by

        concluding – without any evidentiary basis – that USMX’s carrier-members have

        “sufficient control” over this work because they can bypass the Port of Charleston

        altogether.

              There are several problems with the Board majority’s right-of-control theory.

        First, it ignores the obvious premise of Article VII, Section 7 of the Master Contract,

        which is that USMX’s carrier-members do not have the right to control work



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        performed by State employees in the Ports of Charleston, SC, Savannah, GA, and

        Wilmington, NC. If USMX’s carrier-members had the right to control that work,

        there would have been no need for USMX and the ILA to negotiate contract

        language about preparing a study in an effort to convince those state port authorities

        to assign the ILA work that is currently performed by State employees.

              Second, there is no record evidence to support the Board majority’s right-of-

        control theory. The Board majority ignored the undisputed record evidence which

        confirms that nearly all of the cargo delivered to the Port of Charleston is bound for

        customers in South Carolina and nearby states. USMX’s carrier-members cannot

        arbitrarily bypass the Port of Charleston and take that cargo to New York, New

        Jersey, or other Master Contract ports where the ILA performs all of the container-

        handling work. The Board majority also ignored the ALJ’s finding that there was

        no evidence – only “vague speculation” – that cargo was being diverted from other

        Master Contract ports to the Leatherman Terminal in Charleston.

              Third, the Board majority’s right-of-control theory is contrary to precedent

        and the position that the Board has taken in other cases in this same industry. The

        Board majority failed to explain why it is reversing its position and now embracing

        the dubious proposition that a carrier has the right to control work assigned by a state

        port authority to the state’s own employees using equipment owned by the state,

        merely by virtue of a carrier’s theoretical ability to take its vessel to a different port.



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        Even if the Board could justify this 180-degree reversal of its position, the Board

        majority forfeited the deference it would normally receive because it failed to

        explain the reasons for this reversal in its decision.

                                     STANDARD OF REVIEW

              This Court will uphold the NLRB’s legal interpretations if they are “rational

        and consistent with the Act.” NLRB v. Pepsi Cola Bottling Co. of Fayetteville, 258

        F.3d 305, 310 (4th Cir. 2001) (citation omitted). This Court rightly may consider

        whether the NLRB “erred as a matter of law” in making a legal conclusion based on

        undisputed facts. Media Gen. Ops., Inc. v. NLRB, 560 F.3d 181, 187-89 (4th Cir.

        2009) (reversing Board decision that looked at same evidence the ALJ did and came

        to different, incorrect legal conclusion); see Tecnocap, LLC v. NLRB, 1 F.4th 304,

        320-21 (4th Cir. 2021) (holding ALJ erred in concluding there was direct dealing

        despite crucial evidence “missing from this record”).

              The Board’s findings of fact must be upheld “‘if they are supported by

        substantial evidence,’ considering the record as a whole.” Tecnocap, 1 F.4th at 312

        (quoting Dorsey Trailers, Inc. v. NLRB, 233 F.3d 831, 838 (4th Cir. 2000)).1

        “Substantial evidence is such relevant evidence as a reasonable mind might accept




        1
           The ALJ’s evidentiary findings should be sustained unless there is a clear
        preponderance of evidence that shows that those findings are incorrect. JA1326 n.2.

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        as adequate to support a conclusion.” Id. (quoting NLRB v. Air Contact Transp. Inc.,

        403 F.3d 206, 210 (4th Cir. 2005)).

              In reviewing factual findings and mixed questions of law and fact, this Court

        is “obligated to scrutinize the whole record,” including “evidence that detracts from

        as well as supports the NLRB’s findings,” and decide whether the NLRB’s findings

        are supported by substantial evidence. Pepsi Cola Bottling, 258 F.3d at 310 (quoting

        Coronet Foods, Inc. v. NLRB, 158 F.3d 782, 789 (4th Cir. 1998) & citing Sam’s

        Club, a Div. of Wal-Mart Stores, Inc. v. NLRB, 173 F.3d 233, 239 (4th Cir. 1999)).

              “Reviewing courts must ‘ensure that the [NLRB’s] findings are not based on

        speculation or suspicion, as these register no weight on the substantial evidence

        scale.’” Id. (alteration in original) (quoting Coronet Foods, 158 F.3d at 788). “The

        NLRB must also adequately explain the basis of its decision, and a failure to do so

        necessitates a vacatur of the NLRB’s decision and order.” NLRB v. Forsyth Elec.

        Co., 69 F. App’x 164, 167 (4th Cir. 2003).

              “When the Board purports to be engaged in simple factfinding, it is not free

        to prescribe what inferences from the evidence it will accept and reject, but must

        draw all those inferences that the evidence fairly demands.” Sam’s Club, 173 F.3d

        at 239-40 (ellipses omitted) (quoting Allentown Mack Sales & Serv., Inc. v. NLRB,

        522 U.S. 359, 378 (1998)); id. at 244 (holding factual conclusions not supported by

        substantial evidence because ALJ and Board “disregarded a compelling inference to



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        be drawn from th[e] evidence”); cf. Clippard v. Sec. of HHS, No. 88-1733, 1989 WL

        380445, at *1 (D.S.C. May 31, 1989) (holding under substantial-evidence standard

        that placing reliance on “one portion of the record to the disregard of overwhelming

        evidence to the contrary” requires reversal).

              When the NLRB disagrees with the ALJ’s factual findings, courts scrutinize

        the NLRB’s factual findings “more critically” as part of the substantial-evidence

        review. Blackburn v. Martin, 982 F.2d 125, 128 (4th Cir. 1992); see also United

        Steel Workers of Am. AFL-CIO-CLC v. NLRB, 482 F.3d 1112, 1117 (9th Cir. 2007)

        (“when the Board disagrees with an ALJ’s findings or conclusions, we conduct a

        more searching review”); Mathews Readymix Inc. v. NLRB, 165 F.3d 74, 77 (D.C.

        Cir. 1999) (“when the Board reverses an ALJ ‘it must make clear the basis of its

        disagreement’” (citation omitted)).

              More critical review is warranted when the Board reverses or disregards an

        ALJ’s factual findings because “evidence supporting a conclusion may be less

        substantial when an impartial, experienced examiner who has observed the witnesses

        and lived with the case has drawn conclusions different from the Board’s.”

        Blackburn, 982 F.2d at 128 (quoting Universal Camera Corp. v. NLRB, 340 U.S.

        474, 496 (1951)); Monroe v. NLRB, 460 F.2d 121, 124 (4th Cir. 1972) (applying this

        rule to reverse Board’s factual findings); 48A Am. Jur. 2d Labor and Labor Relations




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        § 2153 (“ALJ’s conclusions are one factor to be considered in determining whether”

        substantial-evidence “standard has been satisfied.”).

              To the extent the ALJ’s factual findings are based on credibility

        determinations, the Board typically should defer to the ALJ, “having heard the

        evidence and seen the witnesses.” Universal Camera Corp., 340 U.S. at 496; see

        NLRB v. Frigid Storage, Inc., 934 F.2d 506, 509 (4th Cir. 1991) (implying special

        scrutiny would apply if the Board reversed “an ALJ’s findings as to credibility of

        witnesses”); Media Gen. Ops., 560 F.3d at 185-86 (similar).

                                           ARGUMENT

        I.    The NLRB’s Finding that the Carriers Have the Right of Control Ignores
              Undisputed Record Evidence and the ALJ’s Factual Findings.

              The Board majority acknowledged that “SCSPA has sole authority to decide

        which terminals at the Port of Charleston USMX carriers call on, as well as who

        performs loading and unloading work at those terminals using state-owned lift

        equipment.” JA1332 (emphasis added). Despite this dispositive finding, the Board

        majority concluded that USMX’s carrier-members have the right of control over the

        work in dispute (the operation of the SCSPA’s lift equipment at the Leatherman

        Terminal) because “USMX carriers have the authority to bypass the Port of

        Charleston and call on other ports where ILA-represented employees perform all

        loading and unloading work.” Id.




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              The Court should reject the Board’s finding on the right of control because (a)

        it ignores the parties’ specific agreement in Article VII, Section 7 of the Master

        Contract, which reflects the parties’ clear understanding that the carriers do not have

        the right to control this work; (b) there is no record evidence to support the Board’s

        right-of-control finding; (c) the Board’s finding ignores the undisputed record

        evidence which shows that the carriers cannot arbitrarily bypass the Port of

        Charleston when the cargo is supposed to be delivered to customers in South

        Carolina and nearby states; and (d) the Board’s finding is contrary to precedent and

        the positions it has taken in prior cases.

              A.     Article VII, Section 7 Reflects the Parties’ Understanding That
                     USMX Does Not Have the Right to Control This Work.

              The NLRB’s finding on the carriers’ right of control ignores the specific

        agreement that USMX and the ILA made in Article VII, Section 7 of the Master

        Contract. Article VII, Section 7 reflects the parties’ understanding that USMX’s

        carrier-members do not have the right to control the assignment of work performed

        by state employees on state-equipment in the Ports of Charleston, SC, Savannah,

        GA, and Wilmington, NC. That is why USMX and the ILA agreed to conduct a

        study in order to “convince” those Ports to employ Master Contract bargaining-unit

        employees to perform that work. JA0449.

              Donato Caruso, former principal counsel for USMX who was deeply involved

        in the 2012-2013 negotiations that resulted in Article VII, Section 7, testified that


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        Section 7(a) was an attempt by the parties to try to convince port authorities like

        those in Charleston, Savannah, and Wilmington to adopt an operating model similar

        to the one adopted by the port authority in Houston, which solely uses members of

        the ILA, through the preparation of a study that would compare productivity in

        Houston to productivity in Charleston and Savannah. JA0312, JA0313-14, JA0325-

        26 (Caruso). David Adam, who is the Chairman and CEO of USMX, also testified

        that Section 7(a) concerns a comparison between port models, namely a comparison

        between the Houston model and the Charleston/Savannah/Wilmington model.

        JA0188, JA0200 (Adam).

              If USMX’s carrier-members had the right to control the work assignments in

        those Ports, there would have been no need for a study or for meetings to “convince”

        those Ports to change their historical work assignments. Because the carriers do not

        control the assignment of work that the ILA has not historically or traditionally

        performed in those Ports, USMX only agreed that the carriers “may be prohibited”

        from using a new facility in those Ports. JA0449 (emphasis added).

              According to Mr. Caruso, the term “may” was used because USMX did not

        want to give the impression that USMX agreed with the ILA’s position that the

        Master Contract prohibits carriers from calling at a terminal that is not completely

        manned by ILA labor. JA0314-16, JA0321-26 (Caruso). Mr. Caruso anticipated

        that the ILA might argue that other provisions of the Master Contract (i.e., the



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        jurisdictional provisions, including the no-subcontracting provision) prohibit

        carriers from calling at a terminal that does not utilize ILA labor. But USMX did

        not agree with such an interpretation of the Master Contract. As Mr. Caruso

        testified:

               USMX has never – has never agreed in any manner with the ILA that
               if – that its members did not have the right to call at the new terminal
               in – in Charleston. That’s never been the position.

        JA0321 (Caruso). He testified that USMX’s consistent position was that the parties

        would run afoul of Section 8(e) of the NLRA if they were to apply the jurisdiction

        and containerization provisions of the Master Contract to port authorities that control

        the assignment of work. JA0315-16 (Caruso).

               The Board credited Mr. Caruso’s testimony. JA1327 n.3 (“Former USMX

        counsel Donato Caruso credibly testified that he drafted the language, and

        specifically the notice requirement, as a compromise to ILA’s insistence on a

        provision requiring that unit employees perform all longshore work by 2014 because

        he feared that ILA’s recommended language could be interpreted as violating Sec.

        8(e).”).

               Mr. Caruso’s testimony was corroborated by that of USMX’s Chairman and

        CEO, David Adam. Mr. Adam testified that the primary objective of Section 7(b)

        was work preservation. According to Mr. Adam, Section 7(b) does not prohibit any

        USMX carrier-member from calling at the Leatherman Terminal because ILA



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        workers are performing the same jobs at the Leatherman Terminal as they have

        historically performed at the other terminals in the Port of Charleston. JA0223-24.

        Mr. Adam testified that USMX always believed that it could not provide work to the

        ILA that is controlled by an entity that is not a member of USMX. JA0191, JA0197-

        98, JA0201, JA0215-16, JA0217-18, JA0225-26, JA0227.

              All of this demonstrates that, while USMX agreed to support the ILA’s efforts

        to attempt to persuade the Port to assign the ILA additional work on the Port’s lift

        equipment, the parties understood that USMX’s carrier-members do not have the

        right to control the assignment of that work. Therefore, Article VII, Section 7 does

        not reflect any promise to give the ILA work that historically and traditionally has

        been performed by the Port with its own employees. Because the Board majority’s

        finding ignores this record evidence concerning the parties’ negotiated agreement

        and the ALJ’s credibility determination concerning the meaning of that agreement,

        it deserves no deference. See Sam’s Club, 173 F.3d at 239-40, 244 (noting Board

        may not ignore evidence or “disregard[] a compelling inference to be drawn from

        th[e] evidence”); Frigid Storage, 934 F.2d at 509 (Court should not defer to Board’s

        findings that reverse “an ALJ’s findings as to credibility of witnesses”).

              B.     There Is No Record Evidence to Support the NLRB’s Right-of-
                     Control Theory.

              There is absolutely no record evidence to support the Board majority’s

        conclusion that USMX’s carrier-members have the right of control over the


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        assignment of the work in dispute because the carriers can – in theory – bypass the

        Port of Charleston, and deliver the cargo to a different port. Quite to the contrary,

        bypassing the Port of Charleston would be counter-productive to the goal of

        preserving work opportunities for ILA bargaining-unit employees in the Port of

        Charleston. If a carrier were to bypass the Port, that would result in a loss of work

        for the many ILA bargaining-unit employees who perform the vast majority of the

        work associated with vessels that call at the Port.

              Oblivious to this reality, the Board majority focused on the theory that

        USMX’s carrier-members “have the authority to bypass the Port of Charleston

        entirely and call on other ports where ILA-represented employees perform all

        loading and unloading work.” JA1332 (emphasis added). In doing so, the Board

        overlooked the fact that the ILA has not taken the position that the carriers should

        bypass the Port of Charleston entirely; there is no dispute about the lift-equipment

        work at the other terminals in the Port of Charleston.2 There is also no dispute that

        the SCSPA has the right of control over the assignment of work on the State-owned

        lift equipment. JA1332 (“SCSPA has sole authority to decide which terminals at the



        2
           As the ALJ noted, the ILA did not object to the carriers calling at the Wando
        Terminal in the Port of Charleston; they only filed suit against carriers that called at
        the Leatherman Terminal. JA1354 n.33 (noting that the ILA was “enforcing the
        Master Contract and the Containerization Agreement as it relates to the Leatherman
        Terminal, and not the Wando and North Charleston Terminals”); see also ILA Brief
        at 11-13.

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        Port of Charleston USMX carriers call on, as well as who performs loading and

        unloading work at those terminals using state-owned lift equipment”).

              The Board majority, in reversing the ALJ and concluding that the carriers have

        the right of control, relied on the fact that the Master Contract “is coast-wide in scope

        and not limited to any specific port.” Id. While it is true that the Master Contract

        applies to ports from Maine to Texas, the Board majority disregarded the significant

        differences in the scope of work that has historically and traditionally been

        performed by the ILA in some of those ports. Article VII, Section 7 recognizes that

        state port authorities perform and control certain longshore work in Charleston, SC,

        Savannah, GA, and Wilmington, NC. Similarly, Article VIII, Section 2(b) of the

        Master Contract provides that “clerical work currently performed by state port

        authorities or government agencies, if discontinued, will fall under the ILA’s

        jurisdiction.” JA0452.

              The Board majority’s right-of-control theory rests on the assumption that

        USMX’s carrier-members have the right or obligation to bypass these Ports and call

        at a different port. JA1332 (“USMX carriers have the authority to bypass the Port

        of Charleston and call on other ports where ILA-represented employees perform all

        loading and unloading work.”). But the Master Contract creates no such right or

        obligation for work that has historically and traditionally been performed and

        controlled by state port authorities. The Board cannot ignore the plain meaning of



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        the Master Contract provisions which recognize that USMX cannot promise the ILA

        work which historically and traditionally has been performed by state port

        authorities.

              To the extent the Board majority’s decision is based on the assumption that

        work is being diverted from other Master Contract ports to the Port of Charleston,

        there is no record evidence to support that assumption. The ALJ found no evidence

        – “only supposition” – to support the ILA’s contention that work might be diverted

        to Charleston from other Master Contract ports. JA1354. “[T]here is no evidence

        of any actual or anticipated threat to unit work, only vague speculation.” Id.

              The Board majority’s decision on the right-of-control issue, therefore,

        deserves no deference because it is not supported by any evidence, let alone

        substantial evidence, and is contrary to the ALJ’s factual findings. See Sam’s Club,

        173 F.3d at 244 (Board may not ignore evidence or “disregard[] a compelling

        inference to be drawn from th[e] evidence”); Monroe, 460 F.2d at 124 (Board may

        not disregard “the findings of the Trial Examiner” or ALJ).

              C.       The Carriers Cannot Arbitrarily Bypass the Port of Charleston
                       and Take Cargo Where It Is Not Supposed to Go.

              The Board majority also ignored the evidence that almost all of the cargo on

        vessels that call at the Port of Charleston is destined for customers in South Carolina

        and nearby states. As the ALJ found, approximately 30% of the cargo “is consumed

        within the Charleston area” and the “great preponderance” of the rest of the cargo


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        “is consumed in upstate South Carolina, in the Greenville and Spartanburg areas,

        where BMW, Michelin, and other major customers are located.” JA1354; JA153.

        The ALJ found that “20-25 percent of the cargo that goes outside of South Carolina

        goes to North Carolina, Tennessee, and Alabama” and only a “minimal amount of

        the cargo ends up in the Midwest, and none in the Northeast.” Id.

              The Board majority’s finding on the carriers’ right of control ignores this

        evidence, which the ILA did not refute. The ILA suggested that some cargo may be

        “discretionary” – i.e., it could be delivered to another port if it is economically

        feasible to then transport the cargo inland. JA0152. But the record reflects that,

        even if some of the cargo is “discretionary,” it would typically be delivered to the

        nearby Port of Savannah (which also uses the hybrid model). Id. That is why the

        ALJ rejected as “supposition” the ILA’s contention that work might be diverted to

        Charleston from New York/New Jersey or other “ILA-controlled ports.” JA1354.

              The Board majority completely disregarded the ALJ’s findings on this point,

        which were based on undisputed record evidence. Therefore, the Board majority’s

        finding to the contrary – that the carriers have the right of control based on their

        theoretical ability to “bypass” the Port of Charleston altogether – deserves no

        deference. See Pepsi Cola Bottling, 258 F.3d at 310 (substantial evidence review

        requires scrutinizing evidence that detracts from the NLRB’s findings); Monroe, 460

        F.2d at 124 (Board may not disregard “the findings of the Trial Examiner” or ALJ).



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              D.     The Board’s Finding on the Right of Control Is Contrary to
                     Precedent and Is Diametrically Opposed to the Board’s Position in
                     Prior Cases.

              The Board majority failed to explain why it is now adopting the same right-

        of-control theory that it rejected in another case in this industry. Hooks ex rel.

        National Labor Relations Board v. International Longshore & Warehouse Union,

        544 F. App’x 657 (9th Cir. 2013), involved a dispute over work performed by

        employees of the Port of Portland. The Board sought and obtained an injunction

        against the International Longshore and Warehouse Union (“ILWU”) for, inter alia,

        pursuing claims for damages against carriers that called at the Port of Portland. The

        ILWU argued that the carriers had the right to control the assignment of the disputed

        work because they could bypass the Port. Agreeing with the Board’s position to the

        contrary in that case, the Ninth Circuit rejected this right-of-control theory:

              ILWU’s argument regarding the shipping carriers ability to bypass the
              Port conflates the carriers’ control over their containers with the legal
              question of whether they have the “‘right to control’ the assignment of
              the work” at this port.

        Id. at 658 (citations omitted).

              Following the Ninth Circuit’s affirmance of that preliminary injunction, the

        Board held in a ruling on the merits that the ILWU engaged in an unlawful secondary

        boycott because the Port of Portland maintained the right of control over the

        assignment of the disputed work to the Port’s own employees. Longshoremen

        Local 8, 363 NLRB 121 n.3 & 144 (2015).


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              Then, when the ILWU sought review of the Board’s decision in the D.C.

        Circuit, the Board argued forcefully against the very same right-of-control theory

        that it is espousing in this case. Quoting the Ninth Circuit’s decision in Hooks, the

        Board denounced the argument that carriers have the right of control because they

        can bypass the Port and take their containers to a different port. Brief of NLRB at

        40, Int’l Longshore & Warehouse Union v. NLRB, 705 F. App’x 1 (D.C. Cir. 2017)

        (Nos. 15-1344, 15-1428), 2016 WL 6248401. The Board warned that this argument

        “would strip the Act’s secondary boycott protections from every customer with

        physical custody or ownership of property that is the subject of work sought by a

        union.” Id. To illustrate this point, the Board offered the following analogy:

              ILWU’s argument is akin to claiming that a vehicle owner is the
              primary employer of mechanics who service his car merely because he
              can bypass a particular auto-shop or refuse to “release” his car to it.

        Id. at 40 n.8. The D.C. Circuit affirmed the NLRB’s decision, likewise rejecting the

        argument that the carriers calling in Portland had the “ultimate right of control” by

        virtue of their ownership of the containers. Int’l Longshore & Warehouse Union v.

        NLRB, 705 F. App’x 1, 2 (D.C. Cir. 2017) (per curiam).3


        3
          By referring to the Portland litigation, USMX is not comparing the ILA’s conduct
        in this case to the ILWU’s conduct in the Portland case. As noted previously, and
        as the ALJ found, the ILA has never taken the position that USMX’s carrier-
        members should bypass the Port of Charleston entirely. JA1354 n.33. Instead, both
        USMX and the ILA agree that their current dispute as to the meaning of Article VII,
        Section 7(b) as it relates to the Leatherman Terminal is a dispute that should be
        resolved in arbitration. While this dispute is being resolved, USMX’s carrier-

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              In its decision in this case, the Board majority did not even attempt to explain

        why it is now embracing the very same right-of-control theory that it so thoroughly

        and consistently rejected in the Portland litigation, with the approval of both the

        Ninth Circuit and D.C. Circuit. The Board’s unexplained reversal of its strongly

        held position deserves no deference. See, e.g., Americare Pine Lodge Nursing &

        Rehab. Ctr. v. NLRB, 164 F.3d 867, 876 (4th Cir. 1999) (“[I]t is well settled that this

        Court will not accept the Board’s departure from its standing interpretation of the

        Act without a reasonable explanation.”); Circus Circus Casinos, Inc. v. NLRB, 961

        F.3d 469, 476 (D.C. Cir. 2020) (explaining that Board orders “must be consistent

        with precedent” and the Board must apply its rules “consistently” and “may not

        depart from [its] precedent without explaining why”).

              The Board’s lawyers cannot offer post hoc rationalizations for the Board

        majority’s inconsistent position in this case. See, e.g., Roe v. Dep’t of Def., 947 F.3d

        207, 220 (4th Cir. 2020), as amended (Jan. 14, 2020) (“We consider the record made

        before the agency at the time the agency acted, so post-hoc rationalizations have

        traditionally been found to be an inadequate basis for review.”) (citation, ellipsis,

        and internal quotation marks omitted); Appalachian Voices v. U.S. Dep’t of Interior,




        members continue to call at the Wando and North Charleston Terminals where the
        hybrid model has historically been used and where the ILA performs the vast
        majority of the work associated with vessels that call there.

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        25 F.4th 259, 279 (4th Cir. 2022) (refusing to rely on agency’s “post hoc

        rationalization”).

                 Even if the Board had included its post hoc explanations in its decision, they

        do not hold up under scrutiny. First, the Board cannot distinguish this case on the

        grounds that the Portland case involved “specific reefer work at that port” (which

        was performed by the port’s own employees). NLRB Br. at 54. Likewise here, the

        dispute involves work performed by State employees at the Leatherman Terminal.

                 Second, the Board’s assertion that the ILA “does not, through its lawsuit, seek

        to acquire the work at any specific port” (NLRB Br. at 55) ignores the ample record

        evidence concerning the ILA’s desire to obtain the work performed by State

        employees at the Leatherman Terminal. JA1354 (“What is not lacking is the

        evidence of ILA’s desire to obtain all the container work at the Leatherman Terminal

        . . . .”).4



        4
          The Board’s finding that the ILA “is merely seeking to enforce the Master Contract
        and the Containerization Agreement . . . in order to prevent the erosion of unit jobs
        in the coastwide unit” is not supported by the record evidence. There is very little
        testimony in the record concerning the Containerization Agreement because the
        focus of this case was Article VII, Section 7(b) of the Master Contract and its
        application at the Leatherman Terminal. See JA0322-23. Indeed, during their
        testimony before the ALJ, neither representative of the ILA identified any provision
        of the Master Contract other than Article VII, Section 7 that applied to the opening
        of Leatherman Terminal. See JA0277. To the extent the ILA had a dispute with
        USMX about the Containerization Agreement or other provisions of the Master
        Contract, the forum for resolving such a dispute is arbitration under the Master
        Contract – not a lawsuit in New Jersey state court.

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              The Board majority also relied on a different interpretation of the Supreme

        Court’s decisions in the ILA cases,5 which provide important guidance in this

        industry. The right-of-control issue in the ILA cases involved the work of stuffing

        (loading) and stripping (unloading) of cargo in containers that the carriers owned or

        leased. See ILA II, 473 U.S. at 74 n.12. The Board majority’s interpretation of the

        carriers’ right of control, as articulated by the Supreme Court in a footnote in ILA II,

        is much more expansive than the fact-bound interpretation the Board has previously

        espoused.

              In its brief to the D.C. Circuit in the Portland case, the Board argued that this

        very same footnote in ILA II “refers to factual conclusions involving a different type

        of work based upon a specific evidentiary record in the case before it.” NLRB D.C.

        Circuit Br. at 36. In particular, the Board explained that the carriers had sometimes

        used their own employees to perform the stuffing and stripping work in ILA II. Id.

        at 37. For this and other reasons, the Board took the position that “ILA II addresses

        a very different factual scenario involving a different job function and carriers that

        possessed significant direct control over assigning the work, unlike the carriers

        here.” Id. The D.C. Circuit agreed with the Board’s interpretation of the ILA cases,

        finding that “the Board’s conclusion applied the proper legal standard and its factual



        5
         NLRB v. Int’l Longshoremen’s Ass’n, 447 U.S. 490 (1980) (“ILA I”), and NLRB v.
        Int’l Longshoremen’s Ass’n, 473 U.S. 61 (1985) (“ILA II”).

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        findings regarding the Port’s right of control over the reefer work are supported by

        substantial evidence.” Int’l Longshore & Warehouse Union, 705 F. App’x at 3.

              If the Board is now going to reinterpret longstanding Supreme Court

        precedent, the Board at the very least must explain why it is doing so and why it

        believes its prior interpretation was incorrect. The Court should not accept the

        Board’s unexplained about-face on this issue. Americare Pine Lodge Nursing, 164

        F.3d at 876 (“[I]t is well settled that this Court will not accept the Board’s departure

        from its standing interpretation of the Act without a reasonable explanation.”).

              The Board majority failed to contend with the ALJ’s analysis of the Second

        Circuit’s decision in the Bermuda Container Line, Ltd. v. Int’l Longshoremen’s

        Ass’n, 192 F.3d 250 (2d Cir. 1999), a case which the Board and the ILA rely upon

        in their briefs to this Court. Bermuda Container Line involved a carrier’s relocation

        of work from an ILA port (New York/New Jersey) to a non-ILA port (Salem, New

        Jersey). Id. at 253. Thus, there was a demonstrable loss of work that had been

        performed by the ILA. That is not the situation here, as the ALJ found: “there is no

        evidence of any actual or anticipated threat to unit work, only vague speculation.”

        JA1354. The Board majority did not discuss the ALJ’s analysis; it is yet another

        unexplained mystery of its decision.

              The Court should reject the Board majority’s arbitrary and unjustified

        departure from precedent and the position the Board has taken in prior cases.



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        II.      Article VII, Section 7(b) of the USMX-ILA Master Contract Does Not
                 Violate Section 8(e) of the National Labor Relations Act.

                 While the Board reversed the ALJ on the secondary-boycott charges, the

        Board affirmed the ALJ’s determination that Article VII, Section 7(b) of the Master

        Contract does not violate Section 8(e) of the NLRA. Because this holding is

        supported by substantial evidence and the ALJ’s findings, it should be upheld by this

        Court.

                 In order to find a violation of Section 8(e), there must be a “contract or

        agreement . . . whereby such employer ceases or refrains or agrees to cease . . . doing

        business with any other person.” 29 U.S.C. § 158(e); see DeAnza Delivery Sys., Inc.

        224 NLRB 1116, 1124 (1976); Glenora Farms Dairy, Inc., 210 NLRB 483, 490

        (1974); see also Nat’l Woodwork Mfrs. Ass’n v. NLRB, 386 U.S. 612, 645-46 (1967);

        Int’l Longshoremen’s & Warehousemen’s Local 13, 295 NLRB 704, 705 (1989).

                 A.    There Is No Dispute That Article VII, Section 7(b) Is Facially
                       Lawful.

                 The Board affirmed the ALJ’s ruling that Article VII, Section 7(b) is facially

        lawful:

                 [The ALJ] reasoned that the language of Section 7(b) of the Master
                 Contract was facially valid because it did not require USMX and its
                 carrier members to cease doing business with SCSPA, but only to
                 “formally notify” SCSPA that they “may [if an arbitrator ruled in favor
                 of ILA] be prohibited” from calling at new facilities where ILA unit
                 employees did not perform all the loading and unloading work,
                 including the use of lift equipment.



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        JA1328 (emphasis in original).

              There is no language in Section 7(b) that requires USMX’s carrier-members

        to boycott the Leatherman Terminal or to cease doing business with the SCSPA or

        with any other port. Section 7(b) only states that USMX members “may” be

        prohibited from using a new terminal facility “if the work at that facility is not

        performed by Master Contract-bargaining unit employees.” JA0449. The term

        “may” does not require any boycott or cessation of business. Even the SCSPA

        understands and admits that the language of Section 7(b) is “permissive, not

        prescriptive.” JA0085 (Newsome).

              If a port authority cannot be persuaded to change its hybrid business model,

        Section 7(b) does not state that USMX’ s carrier-members would be prohibited from

        calling at such a facility. Instead, Section 7(b) is merely a notice provision designed

        to advise a port authority of a potential issue under the Master Contract. JA0276-

        77 (Riley): JA0314-15, JA0323, JA0326 (Caruso).

              The SCSPA does not contest the Board’s conclusion that Article VII, Section

        7(b) is facially lawful. Indeed, the SCSPA admits that “[i]t could not be clearer that

        USMX declined to enter into a written agreement not to do business with non-

        compliant ports to avoid a facial violation of section 8(e)[.]” Petitioner’s Br. at 57.

              This admission is fatal to the SCSPA’s argument. When a challenged contract

        provision is not “clearly unlawful on its face,” it should be construed “to require no



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        more than what is allowed by law.” Heartland Industrial Partners, LLC, 348 NLRB

        1081, 1084 (2006) (quoting Gen. Teamsters Local 982 (J. K. Barker Trucking Co.),

        181 NLRB 515, 517 (1970), aff’d, 450 F.2d 1322 (D.C. Cir. 1971)); see also Bldg.

        Material & Const. Teamsters Union Loc. No. 216, Int'l Bhd. of Teamsters,

        Chauffeurs, Warehousemen, & Helpers of Am. v. NLRB, 520 F.2d 172, 178 (D.C.

        Cir. 1975) (same).

              Because it is undisputed that Article VII, Section 7(b) is not “clearly unlawful

        on its face,” it must be construed to comply with Section 8(e). Road Sprinkler Fitters

        Local 669 (Cosco Fire Prot., Inc.), 357 NLRB 2140, 2142 (2011); see also

        Teamsters Local 216, 520 F.2d at 177-78 (noting in Section 8(e) case that “Board

        was correct in following its policy that ‘where the clause is not clearly unlawful on

        its face, the Board will interpret it to require no more than what is allowed by law’”).

        Therefore, there is no need to review extrinsic evidence concerning Article VII,

        Section 7.

              B.     Substantial Evidence Supports the Board’s Finding That Article
                     VII, Section 7(b) Is Lawful.

              Even if the Court considers evidence outside the plain language of Article VII,

        Section 7(b), it supports the Board’s finding that there is no violation of Section 8(e)

        of the NLRA. The Board adopted the ALJ’s finding that “the General Counsel []

        failed to establish ILA, USMX and Local 1422 entered into, or reaffirmed, an

        agreement, express or implied, that violates Section 8(e).” JA1350.


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              The SCSPA takes issue with that determination and boldly asserts that there

        is “overwhelming record evidence” that USMX and the ILA had an implied

        agreement that USMX’s carrier-members would not call at the Leatherman Terminal

        unless the State employees’ jobs were turned over to the ILA. See Petitioner’s Br.

        at 27, 51. The Court should reject the SCSPA’s overblown argument. There is more

        than substantial evidence to support the Board’s findings.

                     1.     Article VII, Section 7(a) Supports the Board’s Lawful
                            Interpretation of Section 7(b).

              First, the SCSPA refers to the language in Article VII, Section 7(a), JA0449,

        concerning the parties’ agreement to conduct a study in an effort to convince port

        authorities, such as the SCSPA, of the benefits of changing their hybrid business

        model. See Petitioner’s Br. at 52. The SCSPA emphasizes the undisputed fact that

        this study was never conducted. Id. The SCSPA goes on to surmise that Article VII,

        Section 7(b) “directly ties [the] putative study [from Section 7(a)] to a requirement

        that USMX member-carriers notify any Port developing ‘a new container handling

        facility’ that member-carriers ‘may be prohibited’ from calling at facilities using

        such models[]” and serves as a “threat” that USMX carrier-members will not call at

        “facilities that do not bring their new facilities under the Master Contract.” Id.

        (emphasis added).

              But the SCSPA misses the critical point of the Section 7(a) language: it

        reflects a mutual understanding that USMX and the ILA would not and could not


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        obtain this work through an unlawful boycott. Instead, they would need to persuade

        the ports that it would be “more productive, efficient, and competitive” to use ILA

        Master Contract bargaining-unit employees instead of State employees to perform

        the lift-equipment work.

                     2.    The Bargaining History of Article VII, Section 7(b)
                           Supports Its Lawful Interpretation.

              The bargaining history of Article VII, Section 7(b), as discussed above,

        supports the Board’s lawful interpretation. Mr. Caruso testified that the purpose of

        Section 7(b) was to give notice to a port authority that develops a new terminal that

        there is a possibility that USMX carrier-members may be prohibited from calling at

        the new terminal if it is not manned completely with ILA labor. JA0314-15. Mr.

        Caruso further testified that such a situation would arise if the ILA were able to

        convince an arbitrator that the jurisdiction and containerization provisions of the

        Master Contract require the use of ILA labor in all port functions. JA0322-26.

              The Board’s findings on this point deserve deference because they are

        consistent with the credibility determination made by the ALJ who heard the

        testimony. JA1345 n.16 (crediting Mr. Caruso “because Caruso’s recollection and

        testimony were more logical and consistent with the other evidence”).




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                       3.    The Disagreement Between the ILA and USMX Further
                             Proves That There Was No Unlawful Implied Agreement.

              The Board’s finding is further supported by “the fact that ILA, Local 1422,

        and USMX interpreted Section 7(b) differently” and, in the absence of a mutual

        understanding, “the provision did not constitute an agreement to cease handling the

        products of, or cease doing business with, SCSPA.” JA1328. The ALJ found that

        the “evidence establishes disagreement, rather than agreement” concerning the

        interpretation of Article VII, Section 7(b). JA1350. Specifically, the ALJ found that

        “ILA and Local 1422 wanted, and claimed the right, to perform all container work

        at the Leatherman Terminal. USMX, however, did not agree.” Id.

              USMX recognized that the ILA could seek to arbitrate such a claim under the

        Master Contract. Mr. Adam expected that the ILA would file a grievance once the

        Leatherman Terminal opened. JA1346 n.18. USMX intended to oppose any claim

        by the ILA that carriers are prohibited from calling at a new terminal. JA0322

        (Caruso). Even if an arbitrator were to construe the Master Contract in a way that

        would violate Section 8(e), USMX would seek to vacate it in federal court. JA0323-

        25 (Caruso).

              This dispute over the interpretation of Article VII, Section 7(b) demonstrates

        that USMX and the ILA never entered into a mutual agreement to boycott any newly

        developed port-authority facility in order to force the port authority to give the ILA

        jobs historically performed by state employees.


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                    4.     The Evidence Does Not Support the SCSPA’s Allegation of
                           an Implied Agreement to Boycott the Leatherman
                           Terminal.

              The evidence also does not support the SCSPA’s contention that the responses

        of USMX carrier-members to the ILA’s lawsuit “reveal their practical interpretation

        of the Master Contract as an implied agreement not to call at non-compliant ports.”

        Petitioner’s Br. at 54. The ALJ found that, within two weeks of the filing of the

        ILA’s lawsuit, at least five USMX carrier-members contacted the SCSPA

        demanding to be assigned to Wando Terminal in the Port of Charleston because they

        did not want to become enmeshed in the ILA’s lawsuit; one USMX carrier-member

        threatened to redirect its vessels to the Port of Savannah. JA1328, JA1347. The

        ALJ also found that, within a month of the lawsuit, the SCSPA had diverted 12

        vessels of USMX carrier-members from Leatherman to the Wando Terminal.

        JA1328; see also JA0656.

              Contrary to the SCSPA’s assertion, these actions do not demonstrate the

        existence of an implied agreement not to call at the Leatherman Terminal. Instead,

        they show that, prior to the ILA’s lawsuit, USMX carrier-members intended to call

        at the Leatherman Terminal. This is supported by Mr. Newsome’s testimony that

        the carrier-members of USMX had planned to call at the Leatherman Terminal and

        had delivered export containers to Leatherman in anticipation of calling there.

        JA0113-15, JA0121-35, JA0175-79 (Newsome). It was only after the ILA had



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        commenced its $300 million lawsuit against the two carriers that had called at the

        Leatherman Terminal that other carriers made the perfectly rational decision to avoid

        being named as the next $100 million defendant in the ILA’s lawsuit. Id.

              The SCSPA claims that its discussions with representatives of USMX and its

        carrier-members prior to the opening of the Leatherman Terminal “indicat[ed] that

        USMX members would not use the Terminal unless SCSPA agreed to ILA’s position

        on the manning of that Terminal.” Petitioner’s Br. at 54. But the Board made or

        affirmed the following findings of fact that are contrary to the SCSPA’s claim:

               After Mr. Adam sent the Section 7(b) letter to SCSPA President/CEO

                 James Newsome in June 2020, stating that “USMX employer-members

                 may be prohibited from using” the Leatherman Terminal, USMX

                 participated in meetings with the ILA and the State to help broker “an

                 arrangement for the performance of work at the new terminal.” JA1327.

               In conversations in late September or early October 2020, Mr. Adam told

                 Mr. Newsome that USMX and the ILA “had different positions regarding

                 the Leatherman Terminal.”        JA1346.     Mr. Adam said that USMX

                 interpreted the Master Contract to mean that carrier-members “could call

                 on the Leatherman Terminal as long as the division of work between the

                 state employees and the Local 1422 members remained the same as it was

                 at the other terminals at the Port of Charleston.” Id.


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               USMX clearly stated that its interpretation of Section 7(b) was different

                 than the ILA’s. “USMX asserted that its employer members interpreted

                 Section 7(b) as allowing the continuation of the hybrid model so long as

                 performance of the work by state employees and ILA-represented

                 employees was proportionally the same as at the port’s two older

                 terminals.” JA1327-28.

               Mr. Newsome acknowledged that there was a dispute between the ILA and

                 USMX about the interpretation of Section 7(b) and “asked Adam multiple

                 times to submit the matter to arbitration for a decision, and Adam stated it

                 would need to wait until after the Leatherman Terminal opened and began

                 operating.” JA1350.

               USMX carrier-member representatives also recognized that there was a

                 disagreement with the ILA and asked Mr. Newsome “whether a resolution

                 had been reached with ILA and expressed unwillingness to accept

                 scheduled calls to that terminal without such a resolution.” JA1350.

              These findings of fact are substantially supported by the evidence. On June

        8, 2020, Mr. Adam sent Mr. Newsome a letter in accordance with Article VII,

        Section 7(b). JA0531. After Mr. Newsome received that letter, he suggested to Mr.

        Adam that USMX and the ILA could arbitrate any dispute the parties had. JA0193-

        94 (Adam).      However, Mr. Adam did not believe that arbitration would be


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        appropriate until the issues became clearer and more concrete. JA0194, JA0204,

        JA0210, JA0211 (Adam).

              At no time did Mr. Adam tell Mr. Newsome or anyone else at the SCSPA that

        USMX and the ILA had an agreement to boycott the Leatherman Terminal if the

        ILA did not get the jobs performed by State employees. JA0194 (Adam). USMX

        never entered into any agreement with the ILA to boycott the Leatherman Terminal.

        JA0194-95 (Adam).

              USMX informed its carrier-members that Article VII, Section 7 does not

        restrict their ability to call at the Leatherman Terminal. USMX informed its carrier-

        members that they are free to call at the Leatherman Terminal if they individually

        decide to do so. JA0195 (Adam).

              Mr. Newsome’s testimony did not contradict Mr. Adam’s testimony. After

        Mr. Newsome spoke with Mr. Adam on August 12, 2020, Mr. Newsome was left

        with the impression that if USMX and the ILA could not resolve the dispute about

        Article VII, Section 7, arbitration would be used to resolve the issue. JA0079

        (Newsome).

              According to Mr. Newsome’s testimony, some of USMX’s carrier-members

        specifically told him that Article VII, Section 7 did not prohibit them from calling

        at the Leatherman Terminal, but that there would likely need to be an arbitration to

        resolve this issue:



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               Albert Gebhardt, Head of Labor Relations for Maersk and a carrier-

                 member of USMX’s Board of Directors, told Mr. Newsome that Article

                 VII, Section 7 gave the carriers a choice as to whether to call at the

                 Leatherman Terminal since the language in Article VII, Section 7 is

                 permissive because it uses “may” instead of “will.” JA0081 (Newsome).

                 According to Mr. Newsome, Mr. Gebhardt believed that the matter would

                 be resolved through arbitration prior to the opening of the Leatherman

                 Terminal. JA0082 (Newsome).

               Christopher Parvin, who is Executive Vice President, Marine Operations,

                 of MSC and a carrier-member of the USMX Board of Directors, told Mr.

                 Newsome that MSC would not advocate that the SCSPA do anything

                 different from what the SCSPA was doing – extending the hybrid operating

                 model that the SCSPA traditionally used to the Leatherman Terminal.

                 JA0083 (Newsome).

               John Nardi, who is the President of New York Shipping Association, Inc.,

                 a port-association member of USMX, told Mr. Newsome that Mr. Nardi

                 felt that the Article VII, Section 7 issue would go to arbitration. JA0087

                 (Newsome).

              The fact that all parties – including the SCSPA – expected that there would

        need to be an arbitration demonstrates that there was no agreement. If USMX and


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        the ILA had truly entered into an agreement to boycott the Leatherman Terminal, as

        the SCSPA alleges, there would be no need for an arbitration.

              Thus, there is more than substantial evidence to support the Board’s order

        dismissing the Section 8(e) charge.

                                         CONCLUSION

              The Board’s Decision and Order should be reversed on the right-of-control

        issue, but the Board’s dismissal of the Section 8(e) allegations concerning Article

        VII, Section 7(b) of the Master Contract should be affirmed.


         Dated: May 19, 2023
                                                Respectfully submitted,

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        Dated: May 19, 2023                       s/ Jonathan C. Fritts
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